   Fill in this information to identify the case:

Debtor 1                 Shirley Jane Burke
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Western District of Washington
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             1940507
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             9
                                                                                                   Court claim no. (if known): _______________________
 Wells Fargo Bank, N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           08/01/2019
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             567.14
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      1 ____
                                                                    ____ 5 ____
                                                                            8 ____
                                                                                3

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

               No
            
            ✔   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                                           217.70                                                                                 212.34
                Current escrow payment: $ _________________                                                 New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

                Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             ✔
                 No
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
                     Shirley Jane Burke                                                                       1940507
      Debtor 1       ________________________________________________________             Case number (if known) ______________________
                     First Name           Middle Name   Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Angela M. Mills Fowler
      ______________________________________________________________
      Signature
                                                                                      06/20/2019
                                                                                Date _______________




 Print:______________________________________________________________
        FOWLER,ANGELA M. MILLS                                                   VP Loan Documentation
                                                                                ____________________________________________________________
        First Name                Middle Name           Last Name               Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                    Street

            1000 Blue Gentian Road
            _____________________________________________________________
            Address 2

             Eagan                                   MN      55121-7700
            _____________________________________________________________
              City                                         State     ZIP Code



                     800-274-7025                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                       Notice of Mortgage Payment Change                                               page 2
                     UNITED STATES BANKRUPTCY COURT
                                                  Western District of Washington


                                                  Chapter 13 No. 1940507
                                                  Judge: Mary Jo Heston

In re:
Shirley Jane Burke
                                         Debtor(s).

                                         CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before June 21, 2019 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                           By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                   Shirley Jane Burke
                                   909 Rush Rd

                                   Chehalis WA 98532



                                  By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                   N/A




Debtor’s Attorney:                By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                   Ellen Ann Brown
                                   Brown & Seelye PLLC
                                   744 S Fawcett Ave

                                   Tacoma WA 98402


                                  By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                   N/A




Trustee:                          By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                   Michael G. Malaier
                                   Chapter 13 Trustee
                                   2122 Commerce Street

                                   Tacoma WA 98402

                                                        _______________________________________________
                                                        /s/Angela M. Mills Fowler
                                                        VP Loan Documentation
                                                        Wells Fargo Bank, N.A.
                                                                                        Escrow Review Statement
                                 Return Mail Operations
                                                                                        For informational purposes only
                                 PO Box 14547
                                 Des Moines, IA 50306-4547                              Statement Date:                                   June 11, 2019
                                                                                        Loan number:
                                                                                        Property address:
                                                                                            909 RUSH ROAD
                                                                                            NAPAVINE WA 98532



                                                                                        Customer Service
                                                                                             Online                          Telephone
                                                                                             wellsfargo.com                  1-800-340-0473
          SHIRLEY J BURKE
                                                                                             Correspondence                  Hours of operation
          909 RUSH RD                                                                        PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
          NAPAVINE WA 98532-7800                                                             Des Moines, IA 50306
                                                                                             To learn more, go to:
                                                                                             wellsfargo.com/escrow


                                                                                               We accept telecommunications relay service calls



PLEASE NOTE: If you are presently seeking relief (or have previously been granted
relief) under the United States Bankruptcy Code, this statement is being sent to you
for informational purposes only. The summaries below are based on the terms of the
loan and are provided for informational purposes only.

These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
will be enough money to make these payments. Once the review is complete, we send
the escrow review statement, also known as the escrow account disclosure statement.
                                                                                         The escrow account has an overage of
Here’s what we found:                                                                                  $53.56
  • Required minimum balance: The escrow account balance is projected to be
     above the required minimum balance. This means there is an overage.

If payments required under the bankruptcy plan have not been made, any escrow
overage will be held in the escrow account.

  • Payments: As of the August 1, 2019 payment, the contractual portion of the
     escrow payment decreases.



  Part 1 - Mortgage payment
   New Payment                   The new total payment will be $567.14
                                  Previous payment through New payment beginning with
                                  07/01/2019 payment date   the 08/01/2019 payment

 Principal and/or interest                  $354.80                  $354.80                         No action required
 Escrow payment                              $217.70                  $212.34
                                                                                         Starting August 1, 2019 the new contractual
 Total payment amount                      $572.50                   $567.14             payment amount will be $567.14




See Page 2 for additional details.
                                                                                                                                             Page 2 of 3
                                                                                                                      Loan Number:


    Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $623.52. For the coming year, we expect the amount paid from escrow to be
$2,548.04.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                       New monthly
                                   08/17 - 07/18     08/18 - 07/19       03/19 - 06/19   08/19 - 07/20
                                                                                                                      # of               escrow
                                     (Actual)          (Actual)            (Actual)       (Projected)
                                                                                                                     months              amount

Property taxes                           $1,271.35         $1,279.18          $623.52        $1,247.04        ÷         12       =          $103.92
Property insurance                       $1,275.00         $1,301.00            $0.00        $1,301.00        ÷         12       =          $108.42
Total taxes and insurance               $2,546.35         $2,580.18           $623.52        $2,548.04        ÷         12       =          $212.34
Escrow shortage                          $1,108.42         $1,053.55            $0.00            $0.00

Total escrow                             $3,654.77         $3,633.73          $623.52        $2,548.04                                      $212.34


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                  (Calculated in Part 3 - Escrow account projections
Lowest projected escrow balance November, 2019                                -$630.56            table)

Bankruptcy adjustment‡                                              +         $1,108.80

Minimum balance for the escrow account†                              -         $424.68            (Calculated as: $212.34 X 2 months)


Escrow overage                                                      =            $53.56


‡
 This adjustment of $1,108.80, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
confirmed bankruptcy plan.
†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
contract to determine the cash reserve.
                                                                                                                                                      Page 3 of 3
                                                                                                                           Loan Number:



  Part 3 - Escrow account projections
Escrow account projections from August, 2019 to July, 2020
                                          What we
              Payments to                 expect to                                                               Projected escrow       Balance required
Date            escrow                     pay out        Description                                                 balance             in the account
Jul 2019                                                  Starting balance                                               $444.60                   $1,499.84
Aug 2019           $212.34                      $0.00                                                                    $656.94                   $1,712.18
Sep 2019           $212.34                      $0.00                                                                    $869.28                   $1,924.52
Oct 2019           $212.34                    $623.52     LEWIS COUNTY (W)                                               $458.10                   $1,513.34
Nov 2019              $212.34                $1,301.00    STATE FARM INS                                               -$630.56                    $424.68
Dec 2019           $212.34                      $0.00                                                                   -$418.22                    $637.02
Jan 2020           $212.34                      $0.00                                                                   -$205.88                    $849.36
Feb 2020           $212.34                      $0.00                                                                      $6.46                   $1,061.70
Mar 2020           $212.34                      $0.00                                                                    $218.80                   $1,274.04
Apr 2020           $212.34                    $623.52     LEWIS COUNTY (W)                                              -$192.38                    $862.86
May 2020           $212.34                      $0.00                                                                     $19.96                   $1,075.20
Jun 2020           $212.34                      $0.00                                                                    $232.30                   $1,287.54
Jul 2020           $212.34                      $0.00                                                                    $444.64                   $1,499.88

Totals           $2,548.08                  $2,548.04



  Part 4 - Escrow account history
Escrow account activity from March, 2019 to July, 2019
                      Deposits to escrow                     Payments from escrow                                                  Escrow balance
   Date      Actual      Projected Difference            Actual   Projected Difference            Description           Actual        Projected Difference
Mar 2019                                                                                       Starting Balance         -$1,734.79    $1,088.42       -$2,823.21
Mar 2019        $0.00           $217.70      -$217.70      $0.00             $0.00    $0.00                             -$1,734.79     $1,306.12      -$3,040.91

Apr 2019        $0.00           $217.70      -$217.70     $623.52       $655.66      -$32.14   LEWIS COUNTY (W)         -$2,358.31      $868.16       -$3,226.47

May 2019        $0.00           $217.70      -$217.70      $0.00             $0.00    $0.00                             -$2,358.31    $1,085.86       -$3,444.17

Jun 2019     $2,585.21          $217.70     $2,367.51      $0.00             $0.00    $0.00                               $226.90      $1,303.56      -$1,076.66
(estimate)

Jul 2019       $217.70          $217.70        $0.00       $0.00             $0.00    $0.00                               $444.60      $1,521.26      -$1,076.66
(estimate)

Totals       $2,802.91      $1,088.50       $1,714.41     $623.52       $655.66      -$32.14




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